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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

BRAND MARKETING GROUP, LLC doing
business as THERMABLASTER,
                                                        12cv1572
                Plaintiff,                              ELECTRONICALLY FILED

                        v.

INTERTEK TESTING SERVICES NA, INC.
doing business as INTERTEK TESTING
SERVICES,

                Defendant.

                      Order of Court on Post-Trial Motion (doc. no. 287)

       AND NOW, this 20th day of May, 2014, for the reasons set forth in the accompanying

Memorandum Opinion, it is hereby ORDERED that:

       Defendant’s Post-Trial Motion (doc. no. 287) is DENIED, with the exception of its

Motion for Equitable Set-Off, which the Court GRANTS.

       It is further ORDERED that the parties shall meet and confer and shall file a Joint

Proposed Amended Final Judgment Order including the agreed-upon amount of the Set-Off. If

the parties are unable to agree, each shall file a Proposed Amended Final Judgment Order with

cross-briefs not to exceed five (5) pages setting forth each party’s respective position thereon.

Said Joint Proposed Amended Final Judgment Order or separate Proposed Amended Final

Judgment Orders and cross-briefs are due by noon on June 2, 2014.

                                                              s/ Arthur J. Schwab
                                                              Arthur J. Schwab
                                                              United States District Judge
cc: All ECF Counsel of Record
